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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS
                               BOSTON DIVISION

STUDENTS FOR FAIR ADMISSIONS, INC.,
          Plaintiff,
     v.
                                              Civil Action No. 1:14-cv-14176-ADB
PRESIDENT AND FELLOWS OF HARVARD
COLLEGE,
          Defendant.




                PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT



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      Pursuant to Federal Rule of Civil Procedure 56, Plaintiff Students for Fair Admissions, Inc.

(“SFFA”) respectfully moves for summary judgment against Defendant President and Fellows of

Harvard College (“Harvard”) on Counts I, II, III, and V of the Complaint. See Doc. 1. As explained

in more detail in the accompanying Memorandum of Law, the undisputed evidence shows that:

      1. Harvard intentionally discriminates against Asian Americans.

      2. Harvard engages in racial balancing.

      3. Harvard is not using race to achieve critical mass.

      4. Harvard neither gave serious, good faith consideration to nor took advantage of workable

          race-neutral alternatives.

Each of these actions violates Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d et seq.

        WHEREFORE, SFFA respectfully requests that the Court grant it summary judgment on

Counts I, II, III, and V of the Complaint

                              REQUEST FOR ORAL ARGUMENT

        Pursuant to Local Rule 7.1(d), SFFA respectfully requests oral argument.
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Dated: June 15, 2018                                             Respectfully submitted,



                                                                /s/ William S. Consovoy
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                       Attorneys for Plaintiff Students for Fair Admissions, Inc.




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                              LOCAL RULE 7.1 CERTIFICATION

        Counsel for SFFA hereby certifies that counsel for SFFA conferred with Harvard’s counsel in

a good faith attempt to resolve or narrow the issues involved in this motion.

                                                 /s/ William S. Consovoy
                                                 William S. Consovoy




                                   CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the CM/ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing.

                                                 /s/ William S. Consovoy
                                                 William S. Consovoy




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